

People v Diaz (2023 NY Slip Op 00186)





People v Diaz


2023 NY Slip Op 00186


Decided on January 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 17, 2023

Before: Kapnick, J.P., Friedman, Kennedy, Mendez, Shulman, JJ. 


Ind. No. 1867/17 Appeal No. 17106 Case No. 2019-1302 

[*1]The People of the State of New York, Respondent, 
vAngel Diaz, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Heidi Bota of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Lori Ann Farrington of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Ralph A. Fabrizio, J.), rendered November 19, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 17, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








